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   Attorneys for Defendants Rivos Inc. and Wen
10 Shih-Chieh a/k/a Ricky Wen

11                                 UNITED STATES DISTRICT COURT

12                                NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14

15 APPLE INC.,                                      Case No. 5:22-CV-2637-EJD

16                   Plaintiff,                     DECLARATION OF STEPHEN
                                                    SWEDLOW IN SUPPORT OF
17            vs.                                   DEFENDANTS RIVOS INC. AND WEN
                                                    SHIH-CHIEH’S SUR-REPLY IN
18 RIVOS INC., WEN SHIH-CHIEH a/k/a                 OPPOSITION TO APPLE’S EX PARTE
   RICKY WEN and BHASI KAITHAMANA,                  MOTION FOR TEMPORARY
19                                                  RESTRAINING ORDER, EXPEDITED
               Defendants.                          DISCOVERY, AND ORDER TO SHOW
20                                                  CAUSE

21                                                  Hearing Date: June 16, 2022
                                                    Time:         9:00 a.m.
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23                                                  Trial Date:         None Set

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                                                                       Case No. 5:22-CV-2637-EJD
              DECLARATION OF STEPHEN SWEDLOW IN SUPPORT OF SUR-REPLY IN OPPOSITION TO APPLE’S
     AND
                                                   MOTION FOR TEMPORARY RESTRAINING ORDER
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 1                           DECLARATION OF STEPHEN SWEDLOW

 2          I, Stephen Swedlow declare:

 3          1.     I am an attorney admitted to this Court Pro hac vice. I am a partner in the law firm

 4 Quinn Emanuel Urquhart & Sullivan, LLP and I represent Defendants Rivos Inc., (“Rivos”) and

 5 Wen Shih-Chieh a/k/a Ricky Wen (“Wen”) in this above-referenced action. I make this

 6 declaration in support of Defendants Rivos and Wen Shih-Chieh’s Sur-Reply in Opposition to

 7 Plaintiff Apple Inc.’s (“Apple”) Ex Parte Motion for Temporary Restraining Order, Expedited

 8 Discovery, and Order to Show Cause. The facts stated in this declaration are true and correct

 9 based on my personal knowledge, and if called and sworn in as a witness, I could and would

10 testify competently to those facts.

11          2.     On Thursday, June 9, 2022, I requested a phone call with counsel for Apple. Apple

12 reluctantly agreed. Later that day, my colleague Vicki Parker and I spoke to Bryan Wilson,

13 Kenneth Kuwayti, and Diek Van Nort, counsel for Apple. This was the first time that counsel for

14 Apple spoke with me or any other attorney for Rivos or Wen. As I conveyed during this call, it

15 was Rivos’ and Wen’s intention to be cooperative and provide Apple to provide comfort to Apple

16 and its counsel that Rivos has not misappropriated any Apple trade secrets, including by providing

17 Apple with the hard drive belonging to Wen, which was identified in the Roffman Declaration

18 submitted in support of Apple’s ex parte motion; by conducting searches of Rivos’ systems for

19 documents containing Apple confidential, proprietary, or trade secret information; and by

20 providing written responses to some of Apple’s discovery requests (despite the fact there is no

21 basis for a claim against Rivos). As I also conveyed during the call, Wen’s and Rivos’ goal was to

22 avoid the need for any hearing before this Court.

23          3.     During the call, I stated that Wen would share the hard drive identified in the

24 Roffman Declaration as soon as the parties entered into a written protocol for its inspection (just

25 as Apple had been negotiating with Kaithamana). To expedite this process, I asked Apple to

26 provide a draft written protocol for our review. I also made clear during the call that Wen would

27 agree to all the relief Apple seeks in the TRO and order to show cause portions of Apple’s ex parte

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                                                 MOTION FOR TEMPORARY RESTRAINING ORDER
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 1 motion, and that Rivos would search its systems for any Apple confidential, proprietary, or trade

 2 secret documents to assure Apple there is no claim against Rivos.

 3          4.     It was clear, however, Apple was not interested in resolving the issues before the

 4 Court. Apple’s conduct from the date it filed this action appears to be intended to inhibit Rivos

 5 and its development efforts while at the same time “fishing” for a basis for a claim against Rivos

 6 that does not exist.

 7          5.     During the same call, Apple’s counsel pretended that they did not know the rule

 8 that when you sue a company, you no longer have the right to contact its current employees. I

 9 followed up clarifying that rule by email later that same day. A true and correct copy of that email

10 is attached hereto as Exhibit A.

11          6.     The next day, June 10, counsel for Defendants sent to Apple a proposed stipulated

12 order that would resolve the TRO-portion of Apple’s motion as to Wen. A true and correct copy

13 of the proposed stipulation is attached hereto as Exhibit B.

14          7.     The proposed stipulated order is substantively equivalent to that which Apple

15 entered with Bhasi Kaithamana on May 17, 2022 (see Dkt. No. 19). Apple took days to respond,

16 then demanded that (i) Wen and Apple split the costs of Apple’s investigation of Wen’s devices;

17 (ii) Wen turn over his device before Apple shares its proposed inspection protocol; (iii) Wen

18 provide the actual hard drive, rather than an image, as Apple had proposed just days before, and

19 (iv) the order to show cause remain on calendar, despite the fact that the stipulation would moot

20 the need for any TRO. Although Defendants would prefer not to burden the Court with a dispute

21 that should be resolved between the parties, they will not agree to these terms.

22          8.     Additionally, Apple has not provided me and my colleagues any information

23 regarding which files it believes Rivos should search for in connection with Defendant Bhasi

24 Kaithamana or the other 41 former Apple employees to whom Apple has sent threatening letters.

25 While Apple claims that the letters provided information to assist Defendants’ investigation, the

26 reality is that, of the 41 other Rivos employees who received letters, 25 contained no allegations

27 whatsoever, 11 included allegations limited strictly to deleting data, and five contained allegations

28 regarding accessing, sending, or retaining allegedly confidential Apple documents.
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 1          I declare under penalty of perjury under the laws of the United States of America that the

 2 foregoing is true and correct. Executed this 15th day of June, 2022 at Chicago, Illinois.

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 4                                               By: /s/ Stephen Swedlow
                                                     Stephen Swedlow
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                                             -3-                    Case No. 5:22-CV-2637-EJD
           DECLARATION OF STEPHEN SWEDLOW IN SUPPORT OF SUR-REPLY IN OPPOSITION TO APPLE’S
                                                 MOTION FOR TEMPORARY RESTRAINING ORDER
